                    Case 3:24-cv-00231-SLH           Document 39      Filed 10/04/24       Page 1 of 6
JUMP TO DOCKET TABLE
                                      U.S. District Court
                               District of Maryland (Baltimore)
                       CIVIL DOCKET FOR CASE #: 1:24−cv−01123−JRR

U.S. Equal Employment Opportunity Commission v. Sheetz, Inc. et al    Date Filed: 04/17/2024
Assigned to: Judge Julie Rebecca Rubin                                Jury Demand: None
Cause: 42:2000 Job Discrimination (Race)                              Nature of Suit: 442 Civil Rights: Jobs
                                                                      Jurisdiction: U.S. Government Plaintiff
Plaintiff
U.S. Equal Employment Opportunity                       represented by Debra Michele Lawrence
Commission                                                             U S Equal Employment Opportunity
                                                                       Commission
                                                                       G. H. Fallon Federal Building
                                                                       31 Hopkins Plaza, Suite 1432
                                                                       Baltimore, MD 21201
                                                                       14102092734
                                                                       Fax: 4102092221
                                                                       Email: debra.lawrence@eeoc.gov
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

                                                                      Ronald L Phillips
                                                                      US Equal Employment Opportunity
                                                                      Commission
                                                                      31 Hopkins Plaza Ste 1432
                                                                      Baltimore, MD 21201
                                                                      4108016714
                                                                      Fax: 4109624270
                                                                      Email: ronald.phillips@eeoc.gov
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Gregory A. Murray
                                                                      Equal Employment Opportunity Commission
                                                                      Pittsburgh Area Office
                                                                      William S. Moorhead Federal Building
                                                                      1000 Liberty Avenue
                                                                      Ste 1112
                                                                      Pittsburgh, PA 15222
                                                                      412−588−6907
                                                                      Fax: 412−395−5749
                                                                      Email: gregory.murray@eeoc.gov
                                                                      ATTORNEY TO BE NOTICED

                                                                      Jenny Xia
                                                                      Equal Employment Opportunity Commission
                                                                      31 Hopkins Plaza, Ste. 1432
                                                                      Baltimore, MD 21201
                                                                      410−801−6687
                                                                      Email: JENNY.XIA@EEOC.GOV
                                                                      ATTORNEY TO BE NOTICED
                   Case 3:24-cv-00231-SLH   Document 39     Filed 10/04/24    Page 2 of 6

V.
Defendant
Sheetz, Inc.                                  represented by Steven E Kaplan
                                                             Littler Mendelson PC
                                                             815 Connecticut Avenue
                                                             Suite 400
                                                             Washington, DC 20006
                                                             12028423400
                                                             Fax: 12028420011
                                                             Email: skaplan@littler.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Katelyn W. McCombs
                                                            Littler Mendelson, P.C.
                                                            One PPG Place
                                                            Suite 2400
                                                            Pittsburgh, PA 15222
                                                            412−201−7641
                                                            Email: kmccombs@littler.com
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Robert W. Cameron
                                                            Littler Mendelson
                                                            One PPG Place
                                                            Suite 2400
                                                            Pittsburgh, PA 15222
                                                            412−201−7635
                                                            Fax: 412−456−2377
                                                            Email: bcameron@littler.com
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Defendant
Sheetz Distribution Services, LLC             represented by Steven E Kaplan
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Katelyn W. McCombs
                                                            (See above for address)
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Robert W. Cameron
                                                            (See above for address)
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Defendant
                       Case 3:24-cv-00231-SLH          Document 39        Filed 10/04/24       Page 3 of 6
CLI Transport, LP                                         represented by Steven E Kaplan
                                                                         (See above for address)
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                          Katelyn W. McCombs
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Robert W. Cameron
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

Email All Attorneys
Email All Attorneys and Additional Recipients

 Date Filed       #     Docket Text

 04/17/2024      Ï1     COMPLAINT against All Defendants, filed by U.S. Equal Employment Opportunity Commission.
                        (Attachments: # 1 Civil Cover Sheet)(Phillips, Ronald) (Entered: 04/17/2024)

 04/17/2024      Ï2     QC NOTICE: 1 Complaint filed by U.S. Equal Employment Opportunity Commission was filed
                        incorrectly.
                        **The following attachments or exhibits are missing − Summons for Defendants. To correct this
                        problem, file Summons using the event Notice (Other) and link Summons to 1 . (ols, Deputy Clerk)
                        (Entered: 04/17/2024)

 04/17/2024      Ï3     NOTICE by U.S. Equal Employment Opportunity Commission re 1 Complaint Sheetz, Inc.
                        Summons (Phillips, Ronald) (Entered: 04/17/2024)

 04/17/2024      Ï4     NOTICE by U.S. Equal Employment Opportunity Commission re 1 Complaint CLI Transport, LP
                        Summons (Phillips, Ronald) (Entered: 04/17/2024)

 04/17/2024      Ï5     NOTICE by U.S. Equal Employment Opportunity Commission re 1 Complaint Sheetz Distribution
                        Services, LLC Summons (Phillips, Ronald) (Entered: 04/17/2024)

 04/18/2024      Ï6     Summons Issued 21 days as to CLI Transport, LP, Sheetz Distribution Services, LLC, Sheetz, Inc.
                        (ols, Deputy Clerk) (Entered: 04/18/2024)

 04/18/2024      Ï7     NOTICE of Appearance by Gregory A. Murray on behalf of U.S. Equal Employment Opportunity
                        Commission (Murray, Gregory) (Entered: 04/18/2024)

 04/18/2024      Ï8     NOTICE of Appearance by Jenny Xia on behalf of U.S. Equal Employment Opportunity
                        Commission (Xia, Jenny) (Entered: 04/18/2024)

 04/18/2024      Ï9     NOTICE of Appearance by Ronald L Phillips on behalf of U.S. Equal Employment Opportunity
                        Commission (Phillips, Ronald) (Entered: 04/18/2024)

 04/22/2024        Ï    Case Reassigned to Judge Julie Rebecca Rubin. Chief Judge James K. Bredar no longer assigned to
                        the case. (kns, Deputy Clerk) (Entered: 04/22/2024)

 04/23/2024     Ï 10    ORDER of Disclosure. Signed by Judge Julie Rebecca Rubin on 4/23/2024. (ols, Deputy Clerk)
                        (Entered: 04/23/2024)

 04/25/2024     Ï 11    WAIVER OF SERVICE Returned Executed by U.S. Equal Employment Opportunity Commission.
                    Case 3:24-cv-00231-SLH           Document 39         Filed 10/04/24       Page 4 of 6
                     Sheetz, Inc. waiver sent on 4/18/2024, answer due 6/17/2024.(Xia, Jenny) (Entered: 04/25/2024)

04/25/2024   Ï 12    WAIVER OF SERVICE Returned Executed by U.S. Equal Employment Opportunity Commission.
                     CLI Transport, LP waiver sent on 4/18/2024, answer due 6/17/2024.(Xia, Jenny) (Entered:
                     04/25/2024)

04/25/2024   Ï 13    WAIVER OF SERVICE Returned Executed by U.S. Equal Employment Opportunity Commission.
                     Sheetz Distribution Services, LLC waiver sent on 4/18/2024, answer due 6/17/2024.(Xia, Jenny)
                     (Entered: 04/25/2024)

06/12/2024   Ï 14    MOTION to Transfer Case by CLI Transport, LP, Sheetz Distribution Services, LLC, Sheetz, Inc.
                     (Attachments: # 1 Text of Proposed Order)(Kaplan, Steven) (Entered: 06/12/2024)

06/12/2024   Ï 15    Memorandum re 14 MOTION to Transfer Case filed by CLI Transport, LP, Sheetz Distribution
                     Services, LLC, Sheetz, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Kaplan, Steven) (Entered:
                     06/12/2024)

06/13/2024   Ï 16    MOTION to Appear Pro Hac Vice for Katelyn W. McCombs (Filing fee $100, receipt number
                     AMDDC−11316577.) by CLI Transport, LP, Sheetz Distribution Services, LLC, Sheetz,
                     Inc.(Kaplan, Steven) (Entered: 06/13/2024)

06/13/2024   Ï 17    MOTION to Appear Pro Hac Vice for Robert W. Cameron (Filing fee $100, receipt number
                     AMDDC−11316605.) by CLI Transport, LP, Sheetz Distribution Services, LLC, Sheetz,
                     Inc.(Kaplan, Steven) (Entered: 06/13/2024)

06/14/2024   Ï 18    MOTION to Dismiss for Failure to State a Claim Partial by CLI Transport, LP, Sheetz Distribution
                     Services, LLC, Sheetz, Inc. (Attachments: # 1 Text of Proposed Order)(Kaplan, Steven) (Entered:
                     06/14/2024)

06/14/2024   Ï 19    Memorandum re 18 MOTION to Dismiss for Failure to State a Claim Partial filed by CLI
                     Transport, LP, Sheetz Distribution Services, LLC, Sheetz, Inc.. (Attachments: # 1 Exhibit A, # 2
                     Exhibit B)(Kaplan, Steven) (Entered: 06/14/2024)

06/17/2024   Ï 20    QC NOTICE: 16 Motion to Appear Pro Hac Vice filed by Sheetz Distribution Services, LLC, CLI
                     Transport, LP, Sheetz, Inc. needs to be modified. See attachment for details and corrective actions
                     needed regarding the signature(s) on the motion. (mh4s, Deputy Clerk) (Entered: 06/17/2024)

06/17/2024   Ï 21    QC NOTICE: 17 Motion to Appear Pro Hac Vice filed by Sheetz Distribution Services, LLC, CLI
                     Transport, LP, Sheetz, Inc. needs to be modified. See attachment for details and corrective actions
                     needed regarding the signature(s) on the motion. (mh4s, Deputy Clerk) (Entered: 06/17/2024)

06/20/2024   Ï 22    CORRECTED MOTION to Appear Pro Hac Vice for Katelyn W. McCombs by CLI Transport, LP,
                     Sheetz Distribution Services, LLC, Sheetz, Inc.. The fee has already been paid.(Kaplan, Steven)
                     (Entered: 06/20/2024)

06/20/2024   Ï 23    CORRECTED MOTION to Appear Pro Hac Vice for Robert W. Cameron by CLI Transport, LP,
                     Sheetz Distribution Services, LLC, Sheetz, Inc.. The fee has already been paid.(Kaplan, Steven)
                     (Entered: 06/20/2024)

06/21/2024   Ï 24    PAPERLESS ORDER granting 22 Corrected Motion to Appear Pro Hac Vice on behalf of Katelyn
                     W. McCombs. Directing attorney Katelyn W. McCombs to register for pro hac vice filing in the
                     District of Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not already done
                     so. The Pro Hac Vice option must be selected when registering. Signed by Clerk on 6/21/2024.
                     (mh4s, Deputy Clerk) (Entered: 06/21/2024)

06/21/2024   Ï 25    PAPERLESS ORDER granting 23 Corrected Motion to Appear Pro Hac Vice on behalf of Robert
                     W. Cameron. Directing attorney Robert W. Cameron to register for pro hac vice filing in the
                     District of Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not already done
                    Case 3:24-cv-00231-SLH            Document 39          Filed 10/04/24        Page 5 of 6
                     so. The Pro Hac Vice option must be selected when registering. Signed by Clerk on 6/21/2024.
                     (mh4s, Deputy Clerk) (Entered: 06/21/2024)

06/26/2024   Ï 26    RESPONSE in Opposition re 14 MOTION to Transfer Case filed by U.S. Equal Employment
                     Opportunity Commission. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2)(Xia, Jenny)
                     (Entered: 06/26/2024)

06/27/2024     Ï     Deficiency Notice for CLI Transport, LP, Sheetz Distribution Services, LLC and Sheetz, Inc. −−
                     Your Local Rule 103.3 disclosure statement has not been filed. The Statement must be filed by
                     7/8/2024 (ols, Deputy Clerk) (Entered: 06/27/2024)

06/27/2024   Ï 27    QC NOTICE: 26 Response in Opposition to Motion filed by U.S. Equal Employment Opportunity
                     Commission was filed incorrectly.
                     **The following attachments or exhibits are missing − Proposed Order. To correct this problem,
                     file Proposed Order using the event Notice (Other) and link Proposed Order to 26 . (ols, Deputy
                     Clerk) (Entered: 06/27/2024)

06/27/2024   Ï 28    NOTICE by U.S. Equal Employment Opportunity Commission re 26 Response in Opposition to
                     Motion (Xia, Jenny) (Entered: 06/27/2024)

06/28/2024   Ï 29    RESPONSE in Opposition re 18 MOTION to Dismiss for Failure to State a Claim Partial filed by
                     U.S. Equal Employment Opportunity Commission. (Attachments: # 1 Exhibit Declaration of
                     Gregory A. Murray, # 2 Text of Proposed Order Proposed Order)(Murray, Gregory) (Entered:
                     06/28/2024)

07/01/2024   Ï 30    Local Rule 103.3 Disclosure Statement by CLI Transport, LP (Kaplan, Steven) (Entered:
                     07/01/2024)

07/01/2024   Ï 31    −FILED IN ERROR− Local Rule 103.3 Disclosure Statement by Sheetz Distribution Services,
                     LLC, Sheetz, Inc. identifying Corporate Parent Sheetz Holdings, Inc. for Sheetz Distribution
                     Services, LLC, Sheetz, Inc..(Kaplan, Steven) Modified on 7/1/2024 (ols, Deputy Clerk). (Entered:
                     07/01/2024)

07/01/2024   Ï 32    QC NOTICE: 31 Local Rule 103.3 Disclosure Statement filed by Sheetz Distribution Services,
                     LLC, Sheetz, Inc. was filed incorrectly.
                     **All entities listed on the corporate disclosure statement, must be entered into the system as a
                     corporate parent, other affiliate or as having a financial interest in the litigation. Please refile. It
                     has been noted as FILED IN ERROR, and the document link has been disabled. (ols, Deputy Clerk)
                     (Entered: 07/01/2024)

07/01/2024   Ï 33    Local Rule 103.3 Disclosure Statement by Sheetz Distribution Services, LLC, Sheetz, Inc.
                     identifying Corporate Parent Sheetz, Inc., Party with Financial Interest CHUBB Insurance Co. for
                     Sheetz Distribution Services, LLC; Corporate Parent Sheetz Holdings, Inc., Other Affiliate
                     Maryland Sheetz, Inc., Other Affiliate Sheetz Aviation, Inc., Other Affiliate SKS, Inc., Party with
                     Financial Interest CHUBB Insurance Co. for Sheetz, Inc..(Kaplan, Steven) (Entered: 07/01/2024)

07/10/2024   Ï 34    REPLY to Response to Motion re 14 MOTION to Transfer Case filed by CLI Transport, LP,
                     Sheetz Distribution Services, LLC, Sheetz, Inc..(Kaplan, Steven) (Entered: 07/10/2024)

07/12/2024   Ï 35    REPLY to Response to Motion re 18 MOTION to Dismiss for Failure to State a Claim Partial filed
                     by CLI Transport, LP, Sheetz Distribution Services, LLC, Sheetz, Inc..(Kaplan, Steven) (Entered:
                     07/12/2024)

08/27/2024   Ï 36    NOTICE of Change of Address by Katelyn W. McCombs (McCombs, Katelyn) (Entered:
                     08/27/2024)

10/04/2024   Ï 37    MEMORANDUM OPINION. Signed by Judge Julie Rebecca Rubin on 10/4/2024. (bg3s, Deputy
                     Clerk) (Entered: 10/04/2024)
                    Case 3:24-cv-00231-SLH         Document 39         Filed 10/04/24      Page 6 of 6
10/04/2024   Ï 38    ORDER granting 14 Defendants' Motion to Transfer Venue; transferring this case to the Western
                     District of Pennsylvania. Signed by Judge Julie Rebecca Rubin on 10/4/2024. (bg3s, Deputy Clerk)
                     (Entered: 10/04/2024)
